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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
JOHN SAIN, et al., §
§ CIVIL ACTION NO.
Plaintiffs, § 4:18-cv-04412
V. §
§
BRYAN COLLIER, et al., §
§
Defendants. §

ORDER TO APPEAL IN FORMA PAUPERIS

On this date, the Court considered the Plaintiffs’ Motion to Appeal In Forma Pauperis.
Having considered the Motion, its attachments, all applicable law, and the disposition of the
Case of the Court GRANTS the motion as follows:

As for the Proceeding In Forma Pauperis the Court Orders:

Phillip Gullett GRANTED DENIED

And for the Clerk to provide service to each party, a copy of this Court’s signed order.
IT IS SO ORDERED

Date: , 2019
Houston, Texas

 

 

HONORABLE JUDGE SIM LAKE
